 Case 2:17-cv-10557-SJM-RSW ECF No. 9, PageID.21 Filed 06/16/17 Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION
DIANE BITEL,

                   Plaintiff,
                                          Case No. 17-10557
-vs-
                                          Hon. Stephen J. Murphy, III
THE HARTFORD,

                   Defendant.

___________________________/

    HARTFORD LIFE AND ACCIDENT INSURANCE COMPANY’S
  STATEMENT OF NO PROCEDURAL CHALLENGE IN ERISA CASE
            Defendant Hartford Life and Accident Insurance Company

(“Hartford”), incorrectly named as The Hartford, by its attorneys, Pepper Hamilton

LLP, will not be issuing a procedural challenge in this ERISA case.
 Case 2:17-cv-10557-SJM-RSW ECF No. 9, PageID.22 Filed 06/16/17 Page 2 of 3




                               Respectfully submitted,

                               s/ James D. VandeWyngearde
                               JAMES D. VANDEWYNGEARDE (P58634)
                               PEPPER HAMILTON LLP
                               4000 Town Center, Suite 1800
                               Southfield, MI 48075
                               248.359.7387
                               vandewyj@pepperlaw.com

                               BRIAN P. DOWNEY
                               PEPPER HAMILTON LLP
                               100 Market Street, Suite 200
                               Harrisburg, PA 17108-1181
                               717.255.1155
                               downeyb@pepperlaw.com

                               Attorneys for Hartford Life and Accident
Dated: June 16, 2017           Insurance Company




                                    -2-
  Case 2:17-cv-10557-SJM-RSW ECF No. 9, PageID.23 Filed 06/16/17 Page 3 of 3




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
DIANE BITEL,

                            Plaintiff,
                                                Case No. 17-10557
-vs-
                                                Hon. Stephen J. Murphy, III
THE HARTFORD,

                            Defendant.

____________________________/


                                  CERTIFICATE OF SERVICE
                      I hereby certify that on June 16, 2017, a copy of the foregoing

Defendant Hartford Life and Accident Insurance Company’s Statement of No

Procedural Challenge in ERISA Case and this Certificate of Service were filed

electronically with the Clerk of the Court which sends notice by operation of the

Court’s electronic filing service to all ECF participants registered to receive notice

in this case.

                                          s/ James D. VandeWyngearde
                                          JAMES D. VANDEWYNGEARDE (P58634)
#44382522 v1 (111154.580)
